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11   Attorneys for GitHub, Inc. and Microsoft Corporation

12                                   UNITED STATES DISTRICT COURT
13                                NORTHERN DISTRICT OF CALIFORNIA
14                                       OAKLAND DIVISION
15

16         J. DOE 1, et al.,                       Case No. 4:22-cv-6823-JST

17         Individual and                          Consolidated with Case No. 4:22-cv-7074-JST
     Representative Plaintiffs,
18                                                 DEFENDANT GITHUB’S ANSWER TO
                   v.                              SECOND AMENDED COMPLAINT IN
19                                                 CONSOLIDATED ACTIONS
           GITHUB, INC., et al.,
20                                                 Date:          May 16, 2024
                           Defendants.             Time:          2:00 p.m.
21                                                 Courtroom: 6, 2d Floor
                                                   Judge: Hon. Jon S. Tigar
22
           AND CONSOLIDATED ACTION                 SAC Filed: January 24, 2024
23

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                                                                GITHUB’S ANSWER TO SECOND AMENDED
                                                                                            COMPL.
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 1         Defendant GitHub, Inc. (“GitHub”) submits this Answer to the Second Amended

 2   Complaint (“SAC”) filed by Plaintiffs on January 24, 2024 in the above-captioned matters.

 3   Where the SAC combines allegations about GitHub and Microsoft and/or OpenAI together,

 4   GitHub’s responses below apply solely to allegations related to GitHub. GitHub omits the

 5   headers from the SAC as no response is required. To the extent a response is required to the

 6   headers, GitHub denies any allegations contained therein. To the extent not expressly admitted

 7   below, GitHub denies each and every allegation of the SAC.

 8       1.        GitHub admits that Plaintiffs have made code available publicly in repositories on

 9   github.com and that they assert the code is subject to various licenses. The remainder of
10   paragraph 1 states conclusions of law and Plaintiffs’ characterization of their claims as to which

11   no response is required. To the extent a response is nonetheless deemed necessary, GitHub

12   denies the remaining allegations in paragraph 1.

13       2.        GitHub admits Plaintiffs’ definitions of “Artificial Intelligence” and “Machine

14   Learning” as “defined for the purposes of [the] Complaint.”

15       3.        GitHub admits that it was founded in 2008 to support open-source development

16   and hosts open-source source code on its website. GitHub admits that over 100 million

17   developers use GitHub’s platform. GitHub otherwise lacks knowledge or information sufficient

18   to form a belief as to the truth of the allegations in paragraph 3 and therefore denies them.

19       4.        GitHub admits that some developers publish material to GitHub pursuant to
20   written licenses. Otherwise, denied.

21       5.        GitHub admits that Microsoft acquired it for $7.5 billion in stock on October 26,

22   2018. GitHub otherwise lacks knowledge or information sufficient to form a belief as to the truth

23   of the allegations in paragraph 5 and therefore denies them.

24       6.        GitHub admits that Copilot runs on Microsoft’s Azure platform. GitHub lacks

25   knowledge or information sufficient to form a belief as to the truth of the remaining allegations

26   in paragraph 6 and therefore denies them.

27       7.        GitHub lacks knowledge or information sufficient to form a belief as to the truth of

28   the allegations in paragraph 7 and therefore denies them.
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 1       8.        GitHub admits that in June 2021, it launched Copilot, which is a product that

 2   assists software coders by using a large language model (“LLM”) to suggest code. GitHub

 3   admits that it charges individual users $10 per month or $100 per year for the use of Copilot.

 4   GitHub denies the remaining allegations in paragraph 8.

 5       9.        The allegations of this paragraph are directed to OpenAI, and/or GitHub lacks

 6   knowledge or information sufficient to admit or deny the allegations of this paragraph about

 7   OpenAI, and on that basis denies them.

 8      10.        GitHub admits that OpenAI used data from some publicly accessible repositories

 9   on Github.com as part of the training data for at least one of its models. GitHub lacks
10   knowledge or information sufficient to form a belief as to the truth of the remaining allegations

11   in paragraph 10 and therefore denies them.

12      11.        Denied.

13      12.        Admitted that Copilot is run on Microsoft’s Azure cloud-computing platform.

14      13.        Denied.

15      14.        Denied.

16      15.        Denied.

17      16.        Paragraph 16 states conclusions of law for which no response is required. To the

18   extent a response is nonetheless deemed necessary, GitHub admits that Plaintiffs bring this

19   action on their own behalf and purportedly on behalf of unnamed class members and that
20   Plaintiffs seek injunctive relief and damages. Except as expressly admitted, GitHub denies the

21   allegations of paragraph 16.

22      17.        Paragraph 17 states conclusions of law for which no response is required. To the

23   extent a response is nonetheless deemed necessary, GitHub admits that venue is proper in the

24   Northern District of California and that GitHub transacts business in this district. Except as

25   expressly admitted, GitHub denies the allegations of paragraph 17.

26      18.        Paragraph 18 states conclusions of law for which no response is required. To the

27   extent a response is nonetheless deemed necessary, GitHub admits that assignment to the San

28   Francisco Division of the United States District Court of the Northern District of California is
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 1   proper, and that GitHub is headquartered within this division. Except as expressly admitted,

 2   GitHub denies the allegations of paragraph 18.

 3      19.        GitHub lacks knowledge or information sufficient to form a belief as to the truth of

 4   the allegations in paragraph 19 and therefore denies them.

 5      20.        GitHub lacks knowledge or information sufficient to form a belief as to the truth of

 6   the allegations in paragraph 20 and therefore denies them.

 7      21.        GitHub lacks knowledge or information sufficient to form a belief as to the truth of

 8   the allegations in paragraph 21 and therefore denies them.

 9      22.        GitHub lacks knowledge or information sufficient to form a belief as to the truth of
10   the allegations in paragraph 22 and therefore denies them.

11      23.        GitHub lacks knowledge or information sufficient to form a belief as to the truth of

12   the allegations in paragraph 23 and therefore denies them.

13      24.         GitHub admits that GitHub is a Delaware corporation with its principal place of

14   business located at 88 Colin P Kelly Jr Street, San Francisco, CA 94107. GitHub admits that it

15   sells, markets, and distributes Copilot in this District. GitHub admits that it released Copilot on a

16   limited “technical preview” basis on June 29, 2021 and that on June 21, 2022, Copilot was

17   released to the public as a subscription-based service for individual developers. Except as

18   expressly admitted, GitHub denies the allegations of paragraph 24.

19      25.         GitHub admits that Defendant Microsoft Corporation is a Washington corporation
20   with its principal place of business located at One Microsoft Way, Redmond, Washington

21   98052. GitHub admits that Microsoft announced its acquisition of Defendant GitHub, Inc. on

22   June 4, 2018, and that the acquisition was finalized on October 26, 2018. GitHub admits that

23   Microsoft sells, markets, and distributes Copilot. Except as expressly admitted, GitHub denies

24   the allegations of paragraph 25.

25      26.        GitHub admits that OpenAI provided Codex to GitHub to develop Copilot.

26   GitHub denies that Copilot violates any rights or that it is engaged in any unlawful conduct. The

27   remaining allegations of this paragraph are directed to OpenAI, and/or GitHub lacks knowledge

28   or information sufficient to admit or deny the allegations of this paragraph about OpenAI, and on
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 1   that basis denies them.

 2      27.        GitHub denies that Copilot violates any rights or that it is engaged in any unlawful

 3   conduct. GitHub denies that OpenAI jointly offers Copilot with GitHub or derives revenue from

 4   Copilot. The remaining allegations of this paragraph are directed to OpenAI, and/or GitHub

 5   lacks knowledge or information sufficient to admit or deny the allegations of this paragraph

 6   about OpenAI, and on that basis denies them.

 7      28.        GitHub denies that it is engaged in any unlawful conduct. GitHub denies that

 8   OpenAI jointly offers Copilot with GitHub or derives revenue from Copilot. The remaining

 9   allegations of this paragraph are directed to OpenAI, and/or GitHub lacks knowledge or
10   information sufficient to admit or deny the allegations of this paragraph about OpenAI, and on

11   that basis denies them.

12      29.        GitHub denies that it is engaged in any unlawful conduct. The remaining

13   allegations of this paragraph are directed to OpenAI, and/or GitHub lacks knowledge or

14   information sufficient to admit or deny the allegations of this paragraph about OpenAI, and on

15   that basis denies them.

16      30.        GitHub denies that it is engaged in any unlawful conduct. The remaining

17   allegations of this paragraph are directed to OpenAI, and/or GitHub lacks knowledge or

18   information sufficient to admit or deny the allegations of this paragraph about OpenAI, and on

19   that basis denies them.
20      31.        GitHub denies that it is engaged in any unlawful conduct. The remaining

21   allegations of this paragraph are directed to OpenAI, and/or GitHub lacks knowledge or

22   information sufficient to admit or deny the allegations of this paragraph about OpenAI, and on

23   that basis denies them.

24      32.        GitHub denies that it is engaged in any unlawful conduct. The remaining

25   allegations of this paragraph are directed to OpenAI, and/or GitHub lacks knowledge or

26   information sufficient to admit or deny the allegations of this paragraph about OpenAI, and on

27   that basis denies them.

28      33.        The allegations of this paragraph are directed to OpenAI, and/or GitHub lacks
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 1   knowledge or information sufficient to admit or deny the allegations of this paragraph about

 2   OpenAI, and on that basis denies them.

 3      34.       The allegations of this paragraph are directed to OpenAI, and/or GitHub lacks

 4   knowledge or information sufficient to admit or deny the allegations of this paragraph about

 5   OpenAI, and on that basis denies them.

 6      35.       The allegations of this paragraph are directed to OpenAI, and/or GitHub lacks

 7   knowledge or information sufficient to admit or deny the allegations of this paragraph about

 8   OpenAI, and on that basis denies them.

 9      36.       The allegations of this paragraph are directed to OpenAI, and/or GitHub lacks
10   knowledge or information sufficient to admit or deny the allegations of this paragraph about

11   OpenAI, and on that basis denies them.

12      37.       The allegations of this paragraph are directed to OpenAI, and/or GitHub lacks

13   knowledge or information sufficient to admit or deny the allegations of this paragraph about

14   OpenAI, and on that basis denies them.

15      38.       The allegations of this paragraph are directed to OpenAI, and/or GitHub lacks

16   knowledge or information sufficient to admit or deny the allegations of this paragraph about

17   OpenAI, and on that basis denies them.

18      39.       The allegations of this paragraph are directed to OpenAI, and/or GitHub lacks

19   knowledge or information sufficient to admit or deny the allegations of this paragraph about
20   OpenAI, and on that basis denies them.

21      40.       The allegations of this paragraph are directed to OpenAI, and/or GitHub lacks

22   knowledge or information sufficient to admit or deny the allegations of this paragraph about

23   OpenAI, and on that basis denies them.

24      41.       Denied.

25      42.       Denied.

26      43.       Denied.

27      44.       Denied.

28      45.       Denied.
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 1       46.        Paragraph 46 states conclusions of law and Plaintiffs’ characterization of their

 2   claims as to which no response is required. To the extent a response is nonetheless deemed

 3   necessary, GitHub denies that this action is suitable for class treatment under Rule 23.

 4       47.        Paragraph 47 states conclusions of law and Plaintiffs’ characterization of their

 5    claims as to which no response is required. To the extent a response is nonetheless deemed

 6    necessary, GitHub denies that this action is suitable for class treatment under Rule 23.

 7       48.        Paragraph 48 states conclusions of law and Plaintiffs’ characterization of their

 8    claims as to which no response is required. To the extent a response is nonetheless deemed

 9    necessary, GitHub denies that this action is suitable for class treatment under Rule 23.
10       49.        Paragraph 49 states conclusions of law and Plaintiffs’ characterization of their

11    claims as to which no response is required. To the extent a response is nonetheless deemed

12    necessary, GitHub denies that this action is suitable for class treatment under Rule 23.

13       50.        Paragraph 50 states conclusions of law and Plaintiffs’ characterization of their

14    claims as to which no response is required. To the extent a response is nonetheless deemed

15    necessary, GitHub denies that this action is suitable for class treatment under Rule 23.

16       51.        GitHub lacks knowledge or information sufficient to form a belief as to the truth of

17    the allegations in paragraph 51 and therefore denies them.

18       52.        Paragraph 52 states conclusions of law and Plaintiffs’ characterization of their

19    claims as to which no response is required. To the extent a response is nonetheless deemed
20    necessary, GitHub denies that this action is suitable for class treatment under Rule 23.

21       53.        Paragraph 53 states conclusions of law and Plaintiffs’ characterization of their

22    claims as to which no response is required. To the extent a response is nonetheless deemed

23    necessary, GitHub denies that this action is suitable for class treatment under Rule 23.

24       54.        Paragraph 54 states conclusions of law and Plaintiffs’ characterization of their

25    claims as to which no response is required. To the extent a response is nonetheless deemed

26    necessary, GitHub denies that this action is suitable for class treatment under Rule 23.

27       55.        GitHub admits it offers a product called Copilot and OpenAI offers a product

28    called Codex. Except as expressly admitted, GitHub denies the allegations in paragraph 55.
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 1       56.       The allegations of this paragraph are directed to OpenAI, and/or GitHub lacks

 2   knowledge or information sufficient to admit or deny the allegations of this paragraph about

 3   OpenAI, and on that basis denies them.

 4       57.       Admitted.

 5       58.       GitHub admits that Copilot is an AI-based product that can assist in writing code.

 6   GitHub further admits that Copilot receives prompts and emits outputs based on those prompts.

 7   GitHub further admits that Copilot does not retain copies of the materials on which the

 8   underlying LLMs were trained. The remaining allegations of this paragraph are directed to

 9   OpenAI, and/or GitHub lacks knowledge or information sufficient to admit or deny the
10   allegations of this paragraph about OpenAI, and on that basis denies them.

11       59.       GitHub admits that the GitHub website stated, “GitHub Copilot uses the OpenAI

12   Codex to suggest code and entire functions in real-time, right from your editor.” GitHub admits

13   that OpenAI provided Codex to GitHub to develop Copilot as part of a partnership between the

14   two companies. The remaining allegations of this paragraph are directed to OpenAI, and/or

15   GitHub lacks knowledge or information sufficient to admit or deny the allegations of this

16   paragraph about OpenAI, and on that basis denies them.

17       60.       GitHub lacks knowledge or information sufficient to form a belief as to the truth of

18   the allegations in paragraph 60 and therefore denies them.

19       61.       GitHub does not know what actions Plaintiffs undertook to allegedly generate the
20   responses identified in this paragraph. Accordingly, GitHub lacks knowledge or information

21   sufficient to form a belief as to the truth of the allegations in paragraph 61 and therefore denies

22   them.

23       62.       GitHub does not know what actions Plaintiffs undertook to allegedly generate the

24   responses identified in this paragraph. Accordingly, GitHub lacks knowledge or information

25   sufficient to form a belief as to the truth of the allegations in paragraph 62 and therefore denies

26   them.

27       63.       GitHub does not know what actions Plaintiffs undertook to allegedly generate the

28   responses identified in this paragraph. Accordingly, GitHub lacks knowledge or information
                                                                     GITHUB’S ANSWER TO SECOND AMENDED
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 1    sufficient to form a belief as to the truth of the allegations in paragraph 63 and therefore denies

 2    them.

 3       64.        GitHub lacks knowledge or information sufficient to form a belief as to the truth of

 4    the allegations in paragraph 64 and therefore denies them.

 5       65.        GitHub lacks knowledge or information sufficient to form a belief as to the truth of

 6    the allegations in paragraph 65 and therefore denies them.

 7       66.        GitHub admits that Codex does not write code the way a human would because it

 8    does not understand the meaning of code. GitHub lacks knowledge or information sufficient to

 9    form a belief as to the truth of the remaining allegations in paragraph 66 and therefore denies
10    them.

11       67.        GitHub lacks knowledge or information sufficient to form a belief as to the truth of

12    the allegations in paragraph 67 and therefore denies them.

13       68.        Denied.

14       69.        GitHub lacks knowledge or information sufficient to form a belief as to the truth of

15    the allegations in paragraph 69 and therefore denies them.

16       70.        GitHub lacks knowledge or information sufficient to form a belief as to the truth of

17    the allegations in paragraph 70 and therefore denies them.

18       71.        GitHub lacks knowledge or information sufficient to form a belief as to the truth of

19    the allegations in paragraph 71 and therefore denies them.
20       72.        GitHub lacks knowledge or information sufficient to form a belief as to the truth of

21    the allegations in paragraph 72 and therefore denies them.

22       73.        GitHub lacks knowledge or information sufficient to form a belief as to the truth of

23    the allegations in paragraph 73 and therefore denies them.

24       74.        GitHub admits that the MIT license states, “The above copyright notice and this

25   permission notice shall be included in all copies or substantial portions of the Software.” GitHub

26   lacks knowledge or information sufficient to form a belief as to the truth of the remining

27   allegations in paragraph 74 or Appendix A and therefore denies them.

28       75.        GitHub admits that a paper titled “Evaluating Large Language Models Trained on
                                                                      GITHUB’S ANSWER TO SECOND AMENDED
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 1   Codex” was published in 2021. Except as expressly admitted, GitHub denies the allegations in

 2   paragraph 75.

 3         76.       To the extent the allegations in this paragraph purport to refer to the contents of

 4   open-source licenses, including the Suggested Licenses, the full texts of those licenses speak for

 5   themselves. GitHub lacks knowledge or information sufficient to admit or deny the remaining

 6   allegations in paragraph 76, and on that basis denies them.

 7         77.       Denied.

 8         78.       GitHub admits that Codex was provided to GitHub to develop GitHub Copilot.

 9   Except as expressly admitted, GitHub denies the allegations in paragraph 78.
10         79.       GitHub admits that Copilot can be used in conjunction with Visual Studio and VS

11   Code, that user inputs are treated as prompts in real time, and that the model underlying Copilot

12   runs on Azure servers. Except as expressly admitted, GitHub denies the allegations in paragraph

13   79.

14         80.       GitHub lacks knowledge or information sufficient to form a belief as to the truth of

15   the allegations in paragraph 80 and therefore denies them.

16         81.       GitHub does not know what actions Plaintiffs undertook to allegedly generate the

17   responses identified in this paragraph. Accordingly, GitHub lacks knowledge or information

18   sufficient to form a belief as to the truth of the allegations in paragraph 81 and therefore denies

19   them.
20         82.       GitHub does not know what actions Plaintiffs undertook to allegedly generate the

21   responses identified in this paragraph. Accordingly, GitHub lacks knowledge or information

22   sufficient to form a belief as to the truth of the allegations in paragraph 82 and therefore denies

23   them.

24         83.       GitHub admits that Copilot’s outputs are in part a result of the semantic

25   relationships learned by the underlying model from code during the training process. GitHub

26   admits that the online book Mastering JS was written by Valeri Karpov. GitHub lacks

27   knowledge or information sufficient to form a belief as to the truth of the remaining allegations

28   in paragraph 83 and therefore denies them.
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 1      84.        GitHub does not know what actions Plaintiffs undertook to allegedly generate the

 2   responses identified in this paragraph. Accordingly, GitHub lacks knowledge or information

 3   sufficient to form a belief as to the truth of the allegations in paragraph 84 and therefore denies

 4   them.

 5      85.        GitHub denies that Copilot reproduces the contents of data used to train the

 6   underlying model in most circumstances. GitHub does not know what actions Plaintiffs

 7   undertook to allegedly generate the responses identified in this paragraph. Accordingly, GitHub

 8   lacks knowledge or information sufficient to form a belief as to the truth of the remaining

 9   allegations in paragraph 85 and therefore denies them.
10      86.        GitHub denies that most of Copilot’s outputs include verbatim copies of code

11   contained in repositories on github.com. GitHub admits that the book Think JavaScript was

12   written by Matthew X. Curinga and others. GitHub lacks knowledge or information sufficient to

13   form a belief as to the truth of the remaining allegations in paragraph 86 and therefore denies

14   them.

15      87.        GitHub lacks knowledge or information sufficient to form a belief as to the truth of

16   the allegations in paragraph 87 and therefore denies them.

17      88.        GitHub admits that a version of the GNU Free Documentation License is available

18   at https://matt.curinga.com/think-js/#gnu-free-documentation-license and contains the quoted

19   language. GitHub lacks knowledge or information sufficient to form a belief as to the truth of
20   the remaining allegations in paragraph 88 and therefore denies them.

21      89.        Copilot does not output verbatim identical copies of copyrighted works such that

22   attribution would be required. Paragraph 89 states conclusions of law and Plaintiffs’

23   characterization of their claims as to which no response is required. To the extent a response is

24   nonetheless deemed necessary, GitHub denies the allegations in paragraph 89.

25      90.        GitHub admits that Codex is a model. GitHub lacks knowledge or information

26   sufficient to form a belief as to the truth of the remaining allegations in paragraph 90 and

27   therefore denies them.

28      91.        GitHub admits that the Codex model was trained using a corpus of material,
                                                                     GITHUB’S ANSWER TO SECOND AMENDED
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 1   operates via a complex probabilistic process, and is able to determine likely successful code

 2   completions from user prompts. GitHub denies the remaining allegations in paragraph 91.

 3      92.        Denied.

 4      93.        GitHub admits that “training” and “learning” are terms used in connection with AI

 5   to describe algorithmic reasoning. GitHub admits that outputs generated by AI models derive

 6   from algorithmic patterns. GitHub lacks knowledge or information sufficient to form a belief as

 7   to the truth of the remaining allegations in paragraph 93 and therefore denies them.

 8      94.        GitHub admits that OpenAI used public code from some repositories on

 9   github.com in the training of Codex. GitHub denies the characterization of Copilot as a model
10   that was trained. GitHub lacks knowledge or information sufficient to form a belief as to the

11   truth of the remaining allegations in paragraph 94 and therefore denies them.

12      95.        GitHub admits that a blog post titled “GitHub Copilot research recitation,” by

13   Albert Ziegler, was published on June 30, 2021 and contains the quoted language. GitHub

14   admits that a podcast episode titled “Eddie Aftandilian on GitHub Copilot” on Software

15   Engineering Radio Podcast was published on October 11, 2022 and contains the quoted

16   language. GitHub lacks knowledge or information sufficient to form a belief as to the truth of

17   the remaining allegations in paragraph 95 and therefore denies them.

18      96.        GitHub admits that GitHub sent a customer support message containing the quoted

19   language. The remaining allegation in paragraph 96 state conclusions of law and Plaintiffs’
20   characterization of their claims with respect to fair use to which no response is required. To the

21   extent a response is nonetheless deemed necessary, GitHub denies the allegations in paragraph

22   96 regarding illegality.

23      97.        GitHub admits that Nat Friedman said in a post that “training ML systems on

24   public data is fair use” and “the output belongs to the operator.” Paragraph 97 otherwise states

25   conclusions of law and Plaintiffs’ characterization of their claims to which no response is

26   required. To the extent a response is nonetheless deemed necessary, except as expressly

27   admitted, GitHub denies the allegations in paragraph 97.

28      98.        GitHub admits that a blog post titled “If Software is My Copilot, Who
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 1    Programmed My Software?” by Bradley M. Kuhn was published on February 3, 2022. GitHub

 2    lacks knowledge or information sufficient to form a belief as to the truth of the remaining

 3    allegations in paragraph 98 and therefore denies them.

 4       99.        GitHub denies that Copilot regularly outputs verbatim copies of code contained in

 5    repositories on github.com. GitHub lacks knowledge or information sufficient to form a belief

 6    as to the truth of the remaining allegations in paragraph 99 and therefore denies them.

 7      100.        GitHub lacks knowledge or information sufficient to form a belief as to the truth of

 8    the allegations in paragraph 100 and therefore denies them.

 9      101.        GitHub lacks knowledge or information sufficient to form a belief as to the truth of
10    the allegations in paragraph 101 and therefore denies them.

11      102.        GitHub admits that it has stated, “[t]he vast majority of the code that GitHub

12   Copilot suggests has never been seen before. Our latest internal research shows that about 1% of

13   the time, a suggestion may contain some code snippets longer than ~150 characters that matches

14   the training set. Previous research showed that many of these cases happen when GitHub Copilot

15   is unable to glean sufficient context from the code you are writing, or when there is a common,

16   perhaps even universal, solution to the problem.” Paragraph 102 otherwise states conclusions of

17   law and Plaintiffs’ characterization of their claims to which no response is required. To the extent

18   a response is nonetheless deemed necessary, except as expressly admitted, GitHub denies the

19   allegations in paragraph 102.
20      103.        GitHub admits that in June 2022, Copilot had approximately 1,200,000 users. The

21    remainder of paragraph 103 states conclusions of law and Plaintiffs’ characterization of their

22    claims to which no response is required. To the extent a response is nonetheless deemed

23    necessary, GitHub denies the allegations in paragraph 103.

24      104.        GitHub admits that the study Quantifying Memorization Across Neural Language

25    Models was authored by Nicholas Carlini and others. GitHub lacks knowledge or information

26    sufficient to form a belief as to the truth of the remaining allegations in paragraph 104 and

27    therefore denies them.

28      105.        Paragraph 105 states argument to which no response is required. To the extent a
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 1   response is nonetheless deemed necessary, GitHub denies the allegations in paragraph 103.

 2     106.        GitHub admits that it is committed to Copilot and that Copilot continues to grow.

 3   Except as expressly admitted, GitHub denies the allegations in paragraph 106.

 4     107.        Admitted.

 5     108.        Paragraph 108 states conclusions of law and Plaintiffs’ characterization of their

 6   claims as to which no response is required. To the extent a response is nonetheless deemed

 7   necessary, GitHub denies the allegations in paragraph 108.

 8     109.        Denied.

 9     110.        Paragraph 110 states conclusions of law and Plaintiffs’ characterization of their
10   claims as to which no response is required. To the extent a response is nonetheless deemed

11   necessary, GitHub denies the allegations in paragraph 110.

12     111.        GitHub lacks knowledge or information sufficient to form a belief as to the truth of

13   the allegations in paragraph 111 and therefore denies them.

14     112.        GitHub lacks knowledge or information sufficient to form a belief as to the truth of

15   the allegations in paragraph 112 and therefore denies them.

16     113.        GitHub lacks knowledge or information sufficient to form a belief as to the truth of

17   the allegations in paragraph 113 and therefore denies them.

18     114.        GitHub does not know what actions Plaintiffs undertook to allegedly generate the

19   responses identified in this paragraph. Accordingly, GitHub lacks knowledge or information
20   sufficient to form a belief as to the truth of the allegations in paragraph 114 and therefore denies

21   them.

22     115.        GitHub lacks knowledge or information sufficient to form a belief as to the truth of

23   the allegations in paragraph 115 and therefore denies them. Whether Doe 2’s code is distinctive

24   expression is a conclusion of law to which no response is required. To the extent a response is

25   nonetheless deemed necessary, GitHub denies the allegations in paragraph 115.

26     116.        Denied.

27     117.        GitHub denies that Copilot suggested a “modified copy of code written by Doe 1.”

28   Paragraph 117 states conclusions of law and Plaintiffs’ characterization of their claims as to
                                                                     GITHUB’S ANSWER TO SECOND AMENDED
                                                     13                                          COMPL.
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 1   which no response is required. To the extent a response is nonetheless deemed necessary,

 2   GitHub denies the allegations in paragraph 117.

 3     118.        GitHub lacks knowledge or information sufficient to form a belief as to the truth of

 4   the allegations in paragraph 118 and therefore denies them.

 5     119.        GitHub lacks knowledge or information sufficient to form a belief as to the truth of

 6   the allegations in paragraph 119 and therefore denies them.

 7     120.        GitHub denies that a Copilot suggestion that differs from Doe 1’s code means the

 8   suggestion is “necessarily a modification based on a copy of Doe 1’s code.” GitHub otherwise

 9   lacks knowledge or information sufficient to form a belief as to the truth of the allegations in
10   paragraph 120 and therefore denies them.

11     121.        Paragraph 121 states conclusions of law and Plaintiffs’ characterization of their

12   claims as to which no response is required. To the extent a response is nonetheless deemed

13   necessary, GitHub denies the allegations in paragraph 121.

14     122.        Paragraph 122 states conclusions of law and Plaintiffs’ characterization of their

15   claims as to which no response is required. To the extent a response is nonetheless deemed

16   necessary, GitHub denies the allegations in paragraph 122.

17     123.        GitHub lacks knowledge or information sufficient to form a belief as to the truth of

18   the allegations in paragraph 123 and therefore denies them.

19     124.        Paragraph 124 states conclusions of law and Plaintiffs’ characterization of their
20   claims as to which no response is required. To the extent a response is nonetheless deemed

21   necessary, GitHub denies the allegations in paragraph 124.

22     125.        GitHub denies that Copilot suggested “multiple modified copies of code written by

23   Doe 5.” Paragraph 125 states conclusions of law and Plaintiffs’ characterization of their claims

24   as to which no response is required. To the extent a response is nonetheless deemed necessary,

25   GitHub denies the allegations in paragraph 125.

26     126.        GitHub lacks knowledge or information sufficient to form a belief as to the truth of

27   the allegations in paragraph 126 and therefore denies them.

28     127.        GitHub lacks knowledge or information sufficient to form a belief as to the truth of
                                                                     GITHUB’S ANSWER TO SECOND AMENDED
                                                     14                                          COMPL.
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 1   the allegations in paragraph 127 and therefore denies them.

 2     128.        GitHub lacks knowledge or information sufficient to form a belief as to the truth of

 3   the allegations in paragraph 128 and therefore denies them.

 4     129.        GitHub lacks knowledge or information sufficient to form a belief as to the truth of

 5   the allegations in paragraph 129 and therefore denies them.

 6     130.        GitHub lacks knowledge or information sufficient to form a belief as to the truth of

 7   the allegations in paragraph 130 and therefore denies them.

 8     131.        Paragraph 131 states conclusions of law and Plaintiffs’ characterization of their

 9   claims as to which no response is required. To the extent a response is nonetheless deemed
10   necessary, GitHub denies the allegations in paragraph 131.

11     132.        Paragraph 132 states conclusions of law and Plaintiffs’ characterization of their

12   claims as to which no response is required. To the extent a response is nonetheless deemed

13   necessary, GitHub denies the allegations in paragraph 132.

14     133.        GitHub denies that Copilot suggested “multiple modified copies of code written by

15   Doe 5.” Paragraph 133 states conclusions of law and Plaintiffs’ characterization of their claims

16   as to which no response is required. To the extent a response is nonetheless deemed necessary,

17   GitHub denies the allegations in paragraph 133.

18     134.        GitHub lacks knowledge or information sufficient to form a belief as to the truth of

19   the allegations in paragraph 134 and therefore denies them.
20     135.        GitHub lacks knowledge or information sufficient to form a belief as to the truth of

21   the allegations in paragraph 135 and therefore denies them.

22     136.        GitHub lacks knowledge or information sufficient to form a belief as to the truth of

23   the allegations in paragraph 136 and therefore denies them.

24     137.        GitHub lacks knowledge or information sufficient to form a belief as to the truth of

25   the allegations in paragraph 137 and therefore denies them. Paragraph 137 also states

26   conclusions of law and Plaintiffs’ characterization of their claims as to which no response is

27   required. To the extent a response is nonetheless deemed necessary, GitHub denies the

28   allegations in paragraph 137.
                                                                    GITHUB’S ANSWER TO SECOND AMENDED
                                                    15                                          COMPL.
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 1     138.        Paragraph 138 states conclusions of law and Plaintiffs’ characterization of their

 2   claims as to which no response is required. To the extent a response is nonetheless deemed

 3   necessary, GitHub denies the allegations in paragraph 138.

 4     139.        Denied.

 5     140.        Denied that GitHub “control[s] all the information about the training dataset.” The

 6   remainder of paragraph 140 states conclusions of law and Plaintiffs’ characterization of their

 7   claims as to which no response is required. To the extent a response is nonetheless deemed

 8   necessary, GitHub denies the allegations in paragraph 140.

 9     141.        Denied.
10     142.        GitHub admits that license text is sometimes included at the top of a source file in

11   a codebase. GitHub states it lacks knowledge or information sufficient to form a belief as to the

12   truth of the remaining allegations in paragraph 142 and therefore denies them.

13     143.        GitHub admits that a blog post titled “GitHub Copilot research recitation” by

14   Albert Ziegler was published on June 30, 2021 and contains the quoted language. Except as

15   expressly admitted, GitHub denies the allegations in paragraph 143.

16     144.        Denied.

17     145.        GitHub admits that it offers a duplicate detection feature that when implemented

18   by the user prevents Copilot from suggesting excerpts of about 150 characters that match code in

19   public repositories on github.com. Except as expressly admitted, GitHub denies the allegations
20   in paragraph 145.

21     146.        GitHub admits that a GitHub Doc titled “Managing Copilot policies as an

22   individual subscriber” includes the quoted language and is available at

23   https://docs.github.com/en/copilot/managing-copilot/managing-copilot-as-an-individual-

24   subscriber/managing-copilot-policies-as-an-individual-subscriber#enabling-or-disabling-

25   duplication-detection. GitHub admits that it offers a duplicate detection feature that when

26   implemented by the user prevents Copilot from suggesting excerpts of about 150 characters that

27   match code in public repositories on github.com. Except as expressly admitted, GitHub denies

28   the allegations in paragraph 146.
                                                                    GITHUB’S ANSWER TO SECOND AMENDED
                                                    16                                          COMPL.
                                                                                   NO. 4:22-CV-6823-JST
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 1     147.       GitHub admits that a GitHub Doc titled “Finding public code that matches GitHub

 2   Copilot suggestions” includes the quoted language and is available at

 3   https://docs.github.com/en/copilot/using-github-copilot/finding-public-code-that-matches-

 4   github-copilot-suggestions. The remaining allegations in paragraph 147 contain argument for

 5   which no response is required. To the extent a response is nonetheless deemed necessary,

 6   GitHub denies the allegations in paragraph 147.

 7     148.       GitHub admits that it offers a code referencing tool as described by GitHub on its

 8   webpage available at https://docs.github.com/en/copilot/using-github-copilot/finding-public-

 9   code-that-matches-github-copilot-suggestions. The remaining allegations in paragraph 148
10   contain argument for which no response is required. To the extent a response is nonetheless

11   deemed necessary, GitHub denies the allegations in paragraph 148.

12     149.       Paragraph 149 states conclusions of law and Plaintiffs’ characterization of their

13   claims as to which no response is required. To the extent a response is nonetheless deemed

14   necessary, GitHub denies the allegations in paragraph 149.

15     150.       GitHub admits that it offers a code referencing tool as described by GitHub on its

16   webpage available at https://docs.github.com/en/copilot/using-github-copilot/finding-public-

17   code-that-matches-github-copilot-suggestions. Except as expressly admitted, GitHub denies the

18   allegations in paragraph 150.

19     151.       GitHub admits that it offers a code referencing tool as described by GitHub on its
20   webpage available at https://docs.github.com/en/copilot/using-github-copilot/finding-public-

21   code-that-matches-github-copilot-suggestions. Except as expressly admitted, GitHub denies the

22   allegations in paragraph 151.

23     152.       GitHub admits that it offers a code referencing tool as described by GitHub on its

24   webpage available at https://docs.github.com/en/copilot/using-github-copilot/finding-public-

25   code-that-matches-github-copilot-suggestions. Except as expressly admitted, GitHub denies the

26   allegations in paragraph 152.

27     153.       GitHub admits that it offers a code referencing tool as described by GitHub on its

28   webpage available at https://docs.github.com/en/copilot/using-github-copilot/finding-public-
                                                                  GITHUB’S ANSWER TO SECOND AMENDED
                                                   17                                         COMPL.
                                                                                 NO. 4:22-CV-6823-JST
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 1   code-that-matches-github-copilot-suggestions. Except as expressly admitted, GitHub denies the

 2   allegations in paragraph 153.

 3     154.        GitHub admits that a GitHub Doc titled “Managing Copilot policies as an

 4   individual subscriber” is available at https://docs.github.com/en/copilot/managing-

 5   copilot/managing-copilot-as-an-individual-subscriber/managing-copilot-policies-as-an-

 6   individual-subscriber#enabling-or-disabling-duplication-detection. GitHub admits the contents

 7   of the document. Except as expressly admitted, GitHub denies the allegations in paragraph 154.

 8     155.        Paragraph 155 states conclusions of law and Plaintiffs’ characterization of their

 9   claims as to which no response is required. To the extent a response is nonetheless deemed
10   necessary, GitHub denies the allegations in paragraph 155.

11     156.        Admitted.

12     157.        Paragraph 157 states conclusions of law and Plaintiffs’ characterization of their

13   claims as to which no response is required. To the extent a response is nonetheless deemed

14   necessary, GitHub denies the allegations in paragraph 157.

15     158.        GitHub lacks knowledge or information sufficient to form a belief as to the truth of

16   the allegations in paragraph 158 and therefore denies them.

17     159.        GitHub lacks knowledge or information sufficient to form a belief as to the truth of

18   the allegations in paragraph 159 and therefore denies them.

19     160.        GitHub admits that the GNU General Public License (“GPL”) is a software
20   license. GitHub lacks knowledge or information sufficient to form a belief as to the truth of the

21   remaining allegations in paragraph 160 and therefore denies them.

22     161.        Paragraph 161 states conclusions of law and Plaintiffs’ characterization of their

23   claims as to which no response is required. To the extent a response is nonetheless deemed

24   necessary, GitHub denies the allegations in paragraph 161.

25     162.        GitHub admits that version 1 of the GPL is available at

26   https://www.gnu.org/licenses/old-licenses/gpl-1.0.en.html and includes the quoted language.

27   Paragraph 162 otherwise states conclusions of law and Plaintiffs’ characterization of their claims

28   as to which no response is required. To the extent a response is nonetheless deemed necessary,
                                                                   GITHUB’S ANSWER TO SECOND AMENDED
                                                    18                                         COMPL.
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 1    GitHub denies the allegations in paragraph 162.

 2      163.        GitHub lacks knowledge or information sufficient to form a belief as to the truth of

 3    the allegations in paragraph 163 and therefore denies them.

 4      164.        GitHub admits that the internet and open-source code fostered developer

 5    collaboration. GitHub otherwise lacks knowledge or information sufficient to form a belief as to

 6    the truth of the allegations in paragraph 164 and therefore denies them.

 7      165.        GitHub lacks knowledge or information sufficient to form a belief as to the truth of

 8    the allegations in paragraph 165 and therefore denies them.

 9      166.        GitHub lacks knowledge or information sufficient to form a belief as to the truth of
10    the allegations in paragraph 166 and therefore denies them.

11      167.        Admitted.

12      168.        GitHub lacks knowledge or information sufficient to form a belief as to the truth of

13    the allegations in paragraph 168 and therefore denies them.

14      169.        GitHub lacks knowledge or information sufficient to form a belief as to the truth of

15    the allegations in paragraph 169 and therefore denies them.

16      170.        GitHub lacks knowledge or information sufficient to form a belief as to the truth of

17    the allegations in paragraph 170 and therefore denies them.

18      171.        GitHub admits that the webpage available at

19    http://www.catb.org/esr/halloween/halloween1.html states “we must target a process rather than
20    a company.” GitHub lacks knowledge or information sufficient to form a belief as to the truth of

21    this webpage or the remaining allegations in paragraph 171 and therefore denies them.

22      172.        GitHub admits that the webpage available at https://lwn.net/2001/0607/a/esr-big-

23   lie.php3, dated June 1, 2001, states “The way the license is written, if you use any open-source

24   software, you have to make the rest of your software open source…. Linux is a cancer that

25   attaches itself in an intellectual property sense to everything it touches.” GitHub lacks knowledge

26   or information sufficient to form a belief as to the truth of this webpage or the remaining

27   allegations in paragraph 172 and therefore denies them.

28      173.        GitHub admits that Microsoft was a defendant in a case brought by the U.S.
                                                                     GITHUB’S ANSWER TO SECOND AMENDED
                                                      19                                         COMPL.
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 1   Department of Justice. GitHub admits that the quoted language is in a 2001 opinion penned by

 2   Judge Thomas Penfield Jackson. GitHub lacks knowledge or information sufficient to form a

 3   belief as to the truth of the remaining allegations in paragraph 173 and therefore denies them.

 4      174.        GitHub admits that a blog post titled “Open XML – The Vote in Sweden” was

 5    published on August 30, 2007 by Jason Matusow. GitHub otherwise lacks knowledge or

 6    information sufficient to form a belief as to the truth of the remaining allegations in paragraph

 7    174 and therefore denies them.

 8      175.        GitHub admits that Microsoft offers many cloud-based services under the Azure

 9    name. GitHub otherwise lacks knowledge or information sufficient to form a belief as to the
10    truth of the remaining allegations in paragraph 175 and therefore denies them.

11      176.        GitHub lacks knowledge or information sufficient to form a belief as to the truth of

12    the allegations in paragraph 176 and therefore denies them.

13      177.        GitHub lacks knowledge or information sufficient to form a belief as to the truth of

14    the allegations in paragraph 177 and therefore denies them.

15      178.        GitHub lacks knowledge or information sufficient to form a belief as to the truth of

16    the allegations in paragraph 178 and therefore denies them.

17      179.        GitHub lacks knowledge or information sufficient to form a belief as to the truth of

18    the allegations in paragraph 179 and therefore denies them.

19      180.        Admitted.
20      181.        Admitted.

21      182.        GitHub admits that it encouraged open-source developers to understand and use

22    open-source licenses for their works and that the GitHub interface allows for the selection of

23    several suggested licenses if a user so chooses. GitHub denies that many public repositories

24    carry an open-source license. Most repositories do not. GitHub lacks knowledge or information

25    sufficient to form a belief as to the truth of the remaining allegations in paragraph 182 and

26    therefore denies them.

27      183.        Admitted.

28      184.        To the extent the allegations in this paragraph purport to refer to the contents of
                                                                      GITHUB’S ANSWER TO SECOND AMENDED
                                                      20                                          COMPL.
                                                                                     NO. 4:22-CV-6823-JST
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 1   open-source licenses, including the Suggested Licenses, the full texts of those licenses speak for

 2   themselves. GitHub lacks knowledge or information sufficient to admit or deny the remaining

 3   allegations in paragraph 184, and on that basis denies them.

 4     185.        GitHub admits that there are many public repositories on github.com that do not

 5   carry a license. GitHub admits that it has encouraged awareness of open-source licenses to its

 6   users. GitHub admits that it has never imposed a default license on public repositories.

 7   Paragraph 185 otherwise states conclusions of law and Plaintiffs’ characterization of their claims

 8   as to which no response is required. To the extent a response is nonetheless deemed necessary,

 9   except as expressly admitted, GitHub denies the allegations in paragraph 185.
10     186.        Admitted.

11     187.        GitHub admits that Microsoft acquired GitHub in October 2018 for $7.5 billion in

12   stock. GitHub lacks knowledge or information sufficient to form a belief as to the truth of the

13   remaining allegations in paragraph 187 and therefore denies them.

14     188.        The allegations of this paragraph are directed to OpenAI, and/or GitHub lacks

15   knowledge or information sufficient to admit or deny the allegations of this paragraph about

16   OpenAI, and on that basis denies them.

17     189.        GitHub lacks knowledge or information sufficient to form a belief as to the truth of

18   the allegations in paragraph 189 and therefore denies them.

19     190.        The allegations of this paragraph are directed to OpenAI, and/or GitHub lacks
20   knowledge or information sufficient to admit or deny the allegations of this paragraph about

21   OpenAI, and on that basis denies them.

22     191.        The allegations of this paragraph are directed to OpenAI, and/or GitHub lacks

23   knowledge or information sufficient to admit or deny the allegations of this paragraph about

24   OpenAI, and on that basis denies them.

25     192.        GitHub admits that an article titled “Elon Musk's Billion-Dollar AI Plan Is About

26   Far More Than Saving the World” by Cade Metz was published on December 15, 2015. The

27   remaining allegations of this paragraph are directed to OpenAI, and/or GitHub lacks knowledge

28   or information sufficient to admit or deny the allegations of this paragraph about OpenAI, and on
                                                                    GITHUB’S ANSWER TO SECOND AMENDED
                                                    21                                          COMPL.
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 1   that basis denies them.

 2     193.        The allegations of this paragraph are directed to OpenAI, and/or GitHub lacks

 3   knowledge or information sufficient to admit or deny the allegations of this paragraph about

 4   OpenAI, and on that basis denies them.

 5     194.        GitHub lacks knowledge or information sufficient to form a belief as to the truth of

 6   the allegations in paragraph 194 and therefore denies them.

 7     195.        GitHub admits that Microsoft published its Earnings Release FY23 Q1 on October

 8   25, 2022. GitHub lacks knowledge or information sufficient to form a belief as to the truth of

 9   the remaining allegations in paragraph 195 and therefore denies them.
10     196.        GitHub admits that an article titled “What to expect from OpenAI’s Codex API”

11   by Ben Dickson was published on August 16, 2021. GitHub lacks knowledge or information

12   sufficient to form a belief as to the truth of the remaining allegations in paragraph 196 and

13   therefore denies them.

14     197.        The allegations of this paragraph are directed to OpenAI, and/or GitHub lacks

15   knowledge or information sufficient to admit or deny the allegations of this paragraph about

16   OpenAI, and on that basis denies them.

17     198.        Admitted.

18     199.        The allegations of this paragraph are directed to OpenAI, and/or GitHub lacks

19   knowledge or information sufficient to admit or deny the allegations of this paragraph about
20   OpenAI, and on that basis denies them.

21     200.        GitHub admits that a webpage available at https://azure.microsoft.com/en-

22   us/products/ai-services/openai-service/ identifies a product known as Azure OpenAI Service.

23   GitHub lacks knowledge or information sufficient to form a belief as to the truth of the

24   remaining allegations in paragraph 200 and therefore denies them.

25     201.        Denied.

26     202.        Denied.

27     203.        Denied.

28
                                                                    GITHUB’S ANSWER TO SECOND AMENDED
                                                     22                                         COMPL.
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 1                                     COUNT 1
                VIOLATION OF THE DIGITAL MILLENNIUM COPYRIGHT ACT
 2                               17 U.S.C. §§ 1201–1205
 3                               (For Injunctive Relief)
                                (Against All Defendants)
 4

 5      204.        Microsoft incorporates by reference its responses to all allegations set forth in

 6   paragraphs 1–203 as if fully set forth herein.

 7      205.        No response to this paragraph is required because Count 1 of the SAC was

 8    dismissed with prejudice. Dkt. No. 253.

 9      206.        No response to this paragraph is required because Count 1 of the SAC was

10    dismissed with prejudice. Dkt. No. 253.

11      207.        No response to this paragraph is required because Count 1 of the SAC was

12    dismissed with prejudice. Dkt. No. 253.

13      208.        No response to this paragraph is required because Count 1 of the SAC was

14    dismissed with prejudice. Dkt. No. 253.

15      209.        No response to this paragraph is required because Count 1 of the SAC was

16    dismissed with prejudice. Dkt. No. 253.

17      210.        No response to this paragraph is required because Count 1 of the SAC was

18    dismissed with prejudice. Dkt. No. 253.

19      211.        No response to this paragraph is required because Count 1 of the SAC was

20    dismissed with prejudice. Dkt. No. 253.

21      212.        No response to this paragraph is required because Count 1 of the SAC was

22    dismissed with prejudice. Dkt. No. 253.

23      213.        No response to this paragraph is required because Count 1 of the SAC was

24    dismissed with prejudice. Dkt. No. 253.

25      214.        No response to this paragraph is required because Count 1 of the SAC was

26    dismissed with prejudice. Dkt. No. 253.

27      215.        No response to this paragraph is required because Count 1 of the SAC was

28    dismissed with prejudice. Dkt. No. 253.
                                                                     GITHUB’S ANSWER TO SECOND AMENDED
                                                      23                                         COMPL.
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 1     216.       No response to this paragraph is required because Count 1 of the SAC was

 2   dismissed with prejudice. Dkt. No. 253.

 3     217.       No response to this paragraph is required because Count 1 of the SAC was

 4   dismissed with prejudice. Dkt. No. 253.

 5     218.       No response to this paragraph is required because Count 1 of the SAC was

 6   dismissed with prejudice. Dkt. No. 253.

 7     219.       No response to this paragraph is required because Count 1 of the SAC was

 8   dismissed with prejudice. Dkt. No. 253.

 9     220.       No response to this paragraph is required because Count 1 of the SAC was
10   dismissed with prejudice. Dkt. No. 253.

11     221.       No response to this paragraph is required because Count 1 of the SAC was

12   dismissed with prejudice. Dkt. No. 253.

13     222.       No response to this paragraph is required because Count 1 of the SAC was

14   dismissed with prejudice. Dkt. No. 253.

15     223.       No response to this paragraph is required because Count 1 of the SAC was

16   dismissed with prejudice. Dkt. No. 253.

17     224.       No response to this paragraph is required because Count 1 of the SAC was

18   dismissed with prejudice. Dkt. No. 253.

19     225.       No response to this paragraph is required because Count 1 of the SAC was
20   dismissed with prejudice. Dkt. No. 253.

21     226.       No response to this paragraph is required because Count 1 of the SAC was

22   dismissed with prejudice. Dkt. No. 253.

23     227.       No response to this paragraph is required because Count 1 of the SAC was

24   dismissed with prejudice. Dkt. No. 253.

25     228.       No response to this paragraph is required because Count 1 of the SAC was

26   dismissed with prejudice. Dkt. No. 253.

27     229.       No response to this paragraph is required because Count 1 of the SAC was

28   dismissed with prejudice. Dkt. No. 253.
                                                                GITHUB’S ANSWER TO SECOND AMENDED
                                                 24                                         COMPL.
                                                                               NO. 4:22-CV-6823-JST
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 1     230.        No response to this paragraph is required because Count 1 of the SAC was

 2   dismissed with prejudice. Dkt. No. 253.

 3     231.        No response to this paragraph is required because Count 1 of the SAC was

 4   dismissed with prejudice. Dkt. No. 253.

 5     232.        No response to this paragraph is required because Count 1 of the SAC was

 6   dismissed with prejudice. Dkt. No. 253.

 7     233.        No response to this paragraph is required because Count 1 of the SAC was

 8   dismissed with prejudice. Dkt. No. 253.

 9     234.        No response to this paragraph is required because Count 1 of the SAC was
10   dismissed with prejudice. Dkt. No. 253.

11     235.        No response to this paragraph is required because Count 1 of the SAC was

12   dismissed with prejudice. Dkt. No. 253.

13                                   COUNT 2
              BREACH OF CONTRACT—OPEN-SOURCE LICENSE VIOLATIONS
14
                              California Common Law
15                            (Against All Defendants)

16
       236.        GitHub realleges and incorporates by reference its foregoing responses to the
17
     preceding paragraphs as if fully set forth herein.
18
       237.        GitHub lacks knowledge or information sufficient to form a belief as to the truth of
19
     the allegations in paragraph 237 and Appendix A and therefore denies them. Paragraph 237
20
     states conclusions of law and Plaintiffs’ characterization of their claims as to which no response
21
     is required. To the extent a response is nonetheless deemed necessary, GitHub denies the
22
     allegations in paragraph 237.
23
       238.        Paragraph 238 states conclusions of law and Plaintiffs’ characterization of their
24
     claims as to which no response is required. To the extent a response is nonetheless deemed
25
     necessary, GitHub denies the allegations in paragraph 238.
26
       239.        Paragraph 239 states conclusions of law and Plaintiffs’ characterization of their
27
     claims as to which no response is required. To the extent a response is nonetheless deemed
28
                                                                    GITHUB’S ANSWER TO SECOND AMENDED
                                                     25                                         COMPL.
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 1   necessary, GitHub denies the allegations in paragraph 239.

 2     240.        Paragraph 240 states conclusions of law and Plaintiffs’ characterization of their

 3   claims as to which no response is required. To the extent a response is nonetheless deemed

 4   necessary, GitHub denies the allegations in paragraph 240.

 5     241.        GitHub lacks knowledge or information sufficient to form a belief as to the truth of

 6   the allegations in paragraph 241 and therefore denies them.

 7     242.        GitHub lacks knowledge or information sufficient to form a belief as to the truth of

 8   the allegations in paragraph 242 and therefore denies them.

 9     243.        Denied.
10     244.        Denied.

11     245.        Denied.

12     246.        Denied.

13     247.        Denied.

14     248.        Denied.

15     249.        Denied.

16     250.        Denied.

17     251.        Denied.

18                                     COUNT 3
                 BREACH OF CONTRACT — SELLING LICENSED MATERIALS
19
                         IN VIOLATION OF GITHUB’S POLICIES
20                              California Common Law
                                   (Against GitHub)
21

22     252.        GitHub realleges and incorporates by reference its foregoing responses to the

23   preceding paragraphs as if fully set forth herein.

24     253.        Paragraph 253 states Plaintiffs’ characterization of their claims as to which no

25   response is required. To the extent a response is nonetheless deemed necessary, GitHub denies

26   the allegations in paragraph 253.

27     254.        Paragraph 254 states conclusions of law and Plaintiffs’ characterization of their

28   claims as to which no response is required. To the extent a response is nonetheless deemed
                                                                    GITHUB’S ANSWER TO SECOND AMENDED
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 1    necessary, GitHub admits the allegations in paragraph 254.

 2      255.           Paragraph 255 states conclusions of law and Plaintiffs’ characterization of their

 3    claims as to which no response is required. To the extent a response is nonetheless deemed

 4    necessary, GitHub denies the allegations in paragraph 255.

 5      256.           GitHub admits the contents of its Privacy Statement and Terms of Service.

 6      257.           Denied.

 7      258.           GitHub admits that it holds itself out as a good citizen of the global open-source

 8    community. Except as expressly admitted, GitHub denies the allegations in paragraph 258.

 9      259.           Denied.
10      260.           Denied.

11      261.           Denied.

12      262.           Denied.

13      263.           GitHub denies that this action may be maintained as a class action under Rule 23

14   of the Federal Rules of Civil Procedure as alleged in the Second Amended Complaint. GitHub

15   denies that Plaintiffs, each of them, and the proposed Class are entitled to any relief whatsoever,

16   including but not limited to the relief sought in the section of the Second Amended Complaint

17   titled “Demand for Judgment.” Furthermore, no response is required to sub-part (e) because the

18   Court denied that Plaintiffs are entitled to damages related to unjust enrichment or punitive

19   damages. Dkt. No. 253. To the extent that this section contains any allegations requiring a
20   response, GitHub denies them.

21      264.           Denied.

22      265.           Denied.

23      266.           Denied.

24      267.           Denied.

25                                        JURY TRIAL DEMANDED

26              GitHub hereby demands a trial by jury on all claims, defenses, and issues in this action so

27   triable.

28                                                *      *       *
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 1                                                DEFENSES

 2          In addition to the above, GitHub asserts the following defenses. Each defense is asserted

 3   as to all claims for relief against GitHub, unless otherwise noted. By setting forth these defenses,

 4   GitHub does not concede that these are affirmative defenses and does not assume the burden of

 5   proving any fact, issue, or element of a claim for relief where such burden properly belongs to

 6   Plaintiffs. Further, nothing stated herein is intended or shall be construed as an acknowledgement

 7   that any particular issue or subject matter necessarily is relevant to Plaintiffs’ allegations. GitHub

 8   reserves the right to amend its Answer as additional information becomes available and to assert

 9   additional defenses to the extent such defenses are or become applicable.
10
                                             FIRST DEFENSE
11                                        (Failure to State a Claim)
12          Plaintiffs’ claims and the putative class members’ claims fail, in whole or in part, because
13   the Second Amended Complaint, and each purported cause of action therein, fails to state a claim
14   upon which relief may be granted and/or to state facts sufficient to constitute a claim for relief
15   against GitHub.
16                                          SECOND DEFENSE
                                 (No Contract Between Plaintiffs and GitHub)
17
            Plaintiffs’ and the putative class members’ claim for breach of open-source license fails,
18
     in whole or in part, because the Second Amended Complaint fails to allege a contract formed
19
     between Plaintiffs and GitHub.
20                                            THIRD DEFENSE
                                          (Conduct Permitted by Law)
21
            Plaintiffs’ claims and the putative class members’ claims fail, in whole or in part, to the
22
     extent that GitHub’s conduct was permitted by law.
23
                                            FOURTH DEFENSE
24
                                               (No Breach)
25          Plaintiffs’ claims and the putative class members’ claims fail, in whole or in part, because
26   GitHub did not breach any license or agreement alleged in the Second Amended Complaint,
27   including without limitation because the asserted use of Plaintiffs’ code constitutes fair use.
28
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 1
                                             FIFTH DEFENSE
 2                                                (Consent)
 3          Plaintiffs’ claims and the putative class members’ claims fail are barred, in whole or in

 4   part, by the doctrine of consent.

 5                                               SIX DEFENSE
                                                (Lack of Injury)
 6
            Plaintiffs’ claims and the putative class members’ claims fail, in whole or in part, because
 7
     Plaintiffs and the putative class members have not suffered and are not likely to suffer any injury
 8
     or damages as a result of the conduct alleged of GitHub in the Second Amended Complaint.
 9
10                                             SEVENTH DEFENSE
                                            (Speculative or No Damages)
11
            Plaintiffs’ claims and the putative class members’ claims fail, in whole or in part, because
12
     GitHub did not cause, directly or indirectly, the alleged damages complained of, and the alleged
13
     damages, if any, are speculative and impossible to ascertain.
14
                                                EIGHTH DEFENSE
15                                       (Intervening or Superseding Cause)
16          Plaintiffs’ claims and the putative class members’ claims fail, in whole or in part, because
17   the alleged damages, if any, were the result of one or more intervening or superseding causes or
18   caused by the acts and/or omissions of persons other than GitHub.
19
                                             NINTH DEFENSE
20                                   (Unavailability of Injunctive Relief)
            Plaintiffs’ claims and the putative class members’ claims fail, in whole or in part, because
21
     Plaintiffs are not entitled to injunctive relief (temporarily, preliminarily, or permanently),
22
     including because any injury to them is not immediate or irreparable, Plaintiffs would have an
23
     adequate remedy at law, the balance of hardships favors no injunction, and the public interest is
24
     best served by no injunction.
25

26                                             TENTH DEFENSE
                                                 (Preemption)
27
            Plaintiffs’ claims and the putative Class Members’ claims are preempted, in whole or in
28
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 1   part, by the Copyright Act, 17 U.S.C. § 101 et seq.

 2
                                            ELEVENTH DEFENSE
 3                                            (Impracticability)
 4          Plaintiffs’ claims and the putative Class Members’ claims are barred, in whole or in part,
 5   by the doctrine of impracticability.
 6

 7                                          TWELFTH DEFENSE
                                            (Lack of Consideration)
 8
            Plaintiffs’ claims and the putative Class Members’ claims fail, in whole or in part, for lack
 9
     or failure of consideration.
10                                        THIRTEENTH DEFENSE
                                         (Void Against Public Policy)
11
            To the extent the alleged contract(s) requires misattribution of ownership, the alleged
12
     contract is void as against public policy, because it is in contravention of or violates the spirit of,
13
     without limitation, Cal. Civ. Code §§ 1643, 1667, 1709, 1710, and/or 17 U.S.C. § 1202(a).
14

15                                       FOURTEENTH DEFENSE
                                    (Failure to Meet Condition Precedent)
16
            Plaintiffs’ claims and the putative Class Members’ claims fail, in whole or in part, for lack
17
     of occurrence of a condition precedent.
18

19
                                          FIFTEENTH DEFENSE
20                                   (Estoppel, Unclean Hands, Waiver)
            Plaintiffs’ claims and the putative Class Members’ claims are barred, in whole or in part,
21
     by one or more equitable doctrines, such as estoppel, unclean hands, or waiver.
22

23
                                            SIXTEENTH DEFENSE
24                                          (Failure of Performance)

25          Plaintiffs’ claims and the putative Class Members’ claims are barred, in whole or in part,

26   for failure of performance by Plaintiffs.

27
                                        SEVENTEENTH DEFENSE
28                                         (Failure to Mitigate)
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 1          Plaintiffs’ claims and the putative Class Members’ claims are barred, in whole or in part,

 2   due to Plaintiffs’ failure to mitigate damages.

 3                          RESERVATION OF ADDITIONAL DEFENSES

 4          GitHub’s investigation of the claims and its defenses is continuing. GitHub reserves the

 5   right to assert additional defenses, such as through amendment of its Answer, that may develop

 6   through discovery in this action or otherwise.

 7                                       REQUEST FOR RELIEF

 8   Therefore, GitHub respectfully requests that this Court:

 9          1. Enter judgment in GitHub’s favor and against Plaintiffs;
10          2. Deny certification of any class;

11          3. Dismiss all claims by Plaintiffs with prejudice;

12          4. Award GitHub its costs of suit;

13          5. Award GitHub its attorneys’ fees to the extent permitted by law; and

14          6. Grant GitHub such other and further relief as this Court deems just and proper.

15

16

17          Dated: July 22, 2024                                Orrick, Herrington & Sutcliffe LLP
18

19
                                                                By:        /s/ Annette L. Hurst
20                                                                        ANNETTE L. HURST
                                                                         Attorneys for Defendants
21                                                                    GitHub, Inc. and Microsoft Corp.
22

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